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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SONOS, INC.,

               Plaintiff,
                                         Case No. 6:20-cv-00881-ADA
      vs.

GOOGLE LLC,

               Defendant.




             DECLARATION OF DANIEL S. FRIEDLAND IN SUPPORT OF
            GOOGLE LLC’S RULE 12(B)(3) MOTION TO STAY OR DISMISS
                   PURSUANT TO THE FIRST-TO-FILE RULE
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        I, Daniel Friedland, declare and state as follows:

        1.      I am a People Analytics Manager at Google LLC (“Google”). I have been a

Google employee since 2016. I live and work in the San Francisco Bay Area. If called as a

witness, I could and would testify competently to the information contained herein.

        2.      Google has been headquartered in Northern California since its founding in 1998.

It is currently headquartered in Mountain View, California, which is located in the Northern

District of California.

        3.      Google’s Mountain View headquarters, which includes offices in neighboring

Sunnyvale (collectively referred to as “Mountain View”), is the strategic center of Google’s

business. As of September 2020, the Mountain View headquarters housed approximately

employees, the largest location for Google’s U.S. employees. As of September 2020, Google

also had approximately           other employees in San Francisco, California and other smaller

offices also within the Northern District of California. As of September 2020, approximately

    % of Google’s approximately             total U.S. employees, including engineers, product

managers, marketers, executives, and staff, are based in the Northern District of California.

        4.      As of September 2020, Google had approximately              employees in Austin,

Texas, comprising approximately        % of Google’s approximately             total U.S. employees.

        5.      I understand that the accused functionalities in this litigation include (1) casting

playback of Google Play Music, YouTube Music, or YouTube from a device to a Cast receiver,

(2) creating and managing speaker groupings for media playback, and (3) certain aspects of

Google’s Room EQ feature (collectively, the “Accused Functionalities”). I have made efforts to

identify the persons with relevant knowledge regarding these functionalities as they relate to the

accused products in this case, which I understand include Chromecast, Chromecast Ultra,




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Chromecast Audio, Chromecast with Google TV, Home Mini, Nest Mini, Home, Home Max,

Home Hub, Nest Hub, Nest Hub Max, Nest Audio, and Nest Wifi Point in conjunction with the

Google Play Music app, YouTube app, YouTube Music app and Google’s Pixel phones, tablets,

and laptops.

        6.     With respect to casting playback of queues from a device to a Cast receiver for

Google Play Music, I understand that                                       , two technical leads for

this project at different points in time, are both based in the San Francisco Bay Area. Neither

                           recall anyone from Google’s Texas office working on the design and

development of this functionality.

        7.     With respect to casting playback of queues from a device to a Cast receiver for

YouTube Music and YouTube, I understand that                  , a technical lead for this project, is

based in the San Francisco Bay Area.            does not recall anyone from Google’s Texas

office working on the design and development of this functionality.

        8.     I understand that                     , the technical lead on the Cast SDK, which is

used by Google Play Music, YouTube Music and YouTube, is based in the San Francisco Bay

Area.

        9.     With respect to creating and managing speaker groupings for media playback, I

understand that                                                   the primary engineers on this

project, are all based in the San Francisco Bay Area. They do not recall anyone from Google’s

Texas office working on the design and development of this functionality.

        10.    With respect to the Room EQ feature, I understand that                       , the

technical lead for this feature, is based in the San Francisco Bay Area.               does not recall

anyone from Google’s Texas office working on the design and development of this functionality.




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       11.     I understand that           , the product manager for the Room EQ and grouping

functionality, is based in the San Francisco Bay Area.           does not recall anyone from

Google’s Texas office working on the design and development of this functionality.

       12.     I understand that                 , a Finance Director whose area of

responsibility includes the Chromecast, Home, and Nest products, is based in the San Francisco

Bay Area.



       I declare under penalty of perjury that to the best of my knowledge the foregoing is true

and correct. Executed on November 17, 2020, in Oakland, CA.



DATED: November 17, 2020



                                           By:
                                                 Daniel S. Friedland




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